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                UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

UMTED STATES OFAMERICA                   No. 3:21-CR-056

                                         (Judge Mannion)

WALTER KENNETH PARFAITE,
a/k/a "Kenny",                           (electronically fiIed)
                Defendant

                         PLEAAGREEMEI{T

     The following PIea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penal ties and Dismissal of Other Counts

    1. Waiver of Indictment/Plea   of   Guilty. The defendant     agrees to

       waive indictment by a grand jury and plead guilty to a felony

       Information, which will be filed against the defendant by the

       United States Attorney for the Middle District of Pennsylvania.

       That Information will charge the defendant with violations of

       Title 21, United States Code, $$ S+t(a)(1) and (b)(1)(B)(viii),

       Possession with Intent to Distribute 5 grams and more of
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   methamphetamine. The maximum penalty for Count 1 is

   imprisonment for a period of forty years, a fine of gb,000,000, a

   maximum term of supervised release of life, to be determined by

   the Court, which shall be served at the conclusion ofand in

   addition to any term of imprisonment, the costs of prosecution,

   denial of certain federal benefits, and an assessment in the

   amount of $100. At the time the guilty plea is entered, the

   defendant shall admit to the Court that the defendant is, in fact,

   guilty of the offense charged in the Information. The defendant

   agrees that the United States may, at its sole election, reinstate

   any dismissed charges or seek additional charges in the event

   that any guiity plea entered or sentence imposed pursuant to

   this Agreement is subsequently vacated, set aside, or

   invalidated by any Court. The defendant further agrees to

   waive any defenses to reinstatement ofthose charges, or the

   filing ofadditional charges, based upon laches, the assertion of

   speedy   trial rights, any applicable statute of limitations, or any

   other ground. The calcu-lation of time under the Speedy Trial
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     Act for when trial must commence is tolled as of the date of the

     defendant's signing of this Agreement, until either (a) the

     defendant pleads guiltyi or (b) a new date is set by the Court for

     commencement of trial.

2.   Dismissai of Counts. At the time of sentencing on the

     Information described above, the United States agrees to move

     for dismissal of the Indictment fiied under case number B:21-

     CR'056. The defendant agrees, however, that the United States

     may, at its sole election, reinstate any dismissed charges or seek

     additional charges in the event that any guilty plea entered or

     sentence imposed pursuant to this Ageement is subsequently

     vacated, set aside, or invalidated by any Court. The defendant

     further agrees to waive any defenses to reinstatement of those

     charges, or the filing ofadditional charges, based upon laches,

     the assertion of speedy trial rights, any applicable statute of

     limitations, or any other ground. The calculation of time under

     the Speedy Triai Act for when trial must commence is tolled as

     of the date of the defendant's signing of this Agreement,   until
                                  o
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     either (a) the defendant pleads guiltyi or (b) a new date is set by

     the Court for commencement of trial.

3.   Mandator.v Minimum Sentence. Count 1 carries a mandatory

     mirrimum period of imprisonment of five years.

4.   Term of Supervised Release. The defendant understands that

     the Court must impose at least a four-year term of supervised

     release in addition to any term of imprisonment, fine or

     assessment involving this violation of the Controlled Substances

     Act. The defendant also understands that the Court may

     impose a term of supervised release following any sentence of

     imprisonment exceeding one year, or when required by statute.

     The Court may require a term of supervised. release in any other

     case. In addition, the defendant understands that as a

     condition of any term of supervised release or probation, the

     Court must order that the defendant cooperate in the collection

     of a DNA sample if the collection of a sample is so authorized by

     law.



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    5.   No Furt her Pros ecution. Excep t Tax Charse s. The United

         States Attorney's Office for the Middle District of pennsylvania

         agrees that   it will not bring any other criminal charges against
         the defendant directly arising out ofthe defendant,s

         involvement in the offense(s) described above. However,

         nothing in this Agreement will limit prosecution for criminal tax

         charges,   if any, arising out of those offenses.
B   Fines andAssesemeuts

    6.   Fine. The defendant understands that the Court may impose a

         fine pursuant to the Sentencing Reform Act of 19g4. The willful

         failure to pay any fine imposed by the Court, in full, may   be

         considered a breach of this piea Agreement. Further, the

         defendant acknowledges that wilUul failure to pay the frne may

         subject the defendant to additional criminal violations and civil

         penalties pursuant to Title 18, United States Code, 8611, et
                                                            $

         seq.

    7.   Alternative Fine. The defendant understands that under the

         alternative fine section ofTitle 18, United States Code, g Ab?1,
                                       D
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     the maximum fine quoted above may be increased if the Court

     finds that any person derived pecuniary gain or sufJered

     pecuniary loss from the offense and that the maximum fine to

     be imposed,   ifthe Court   elects to proceed   in this fashion, could
     be twice the amount of the gross gain or twice the amount of the

     gross loss resulting from the offense.

8.   Inm ate Finan cial Resn onsibilitv Prosram . Ifthe Court orders a

     fine or restitution as part ofthe defendant's sentence, and the

     sentence includes a term of imprisonment, the defendant agrees

     to voluntarily enter the United States Bureau ofprisons-

     administered program known as the Inmate Financial

     Responsibility Program, through which the Bureau of prisons

     will collect up to 50% ofthe defendant's prison salary, and up to

     50% of the balance of the defendant,s inmate aceount, and apply

     that amount on the defendant's behalf to the payment of the

     outstanding fine and restitution orders.

9.   Speci al Assessment . The defendant understands that the Court

     wiil impose a special assessment of $100, pursuant to the
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    provisions ofTitle 18, United States Code,    S   9018, for each

    count. No later than the date of sentencing, the defendant or

    defendant's counsel shall mail a check in payment of the special

    assessment directly to the Clerk, United States      District Court,
    Middle District of Pennsylvania. If the defendant intentionally

   fails to make this payment, that failure may be treated as a

   breach of this Plea Agreement and may result in further

   prosecution, the filing of additional criminal charges, or a

   contempt citation.

10. Collection of Fin ncial Obli   tions . In order to facilitate the

   collection of financial obligations imposed in connection with

   this case, the defendant consents and agrees:

   a.   to fully disclose all assets in which the defendant has an

        interest or over which the defendant has control, directly or

        indirectly, including those held by a spouse, nominee, or

        other third partyi

   b.   to submit to interviews by the Government regarding the

        defendant's financial statusi
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   c.   to submit a complete, accurate, and truthful financial

        statement, on the form provided by the Government, to the

        United States Attorney's Office no later than 14 days

        following entry of the guilty pleai

   d.   whether represented by counsel or not, to consent to contact

        by and communication with the Government, and to waive

        any prohibition against communication with a represented

        party by the Government regarding the defendalt,s

        financial statusi

   e.   to authorize the Government to obtain lhe defendant,s

        credit reports in order to evaluate the defendant,s ability to

        satisfy any financial obligations imposed by the Courti and

   f.   to submit any financial information requested by the

        Probation Offrce as directed, and to the sharing offinancial

        information between the Government and the probation

        Office.




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C.   Senteucing Guidelinee Calculation

     11. Determination of Sentencine Guidelines. The defendant and

         counsel for both parties agree that the United States Sentencing

         Commission Guidelines, which took effect on November       l, lg}7,
         and its amendments (the "sentencing Guidelines',), will apply to

         the offense or offenses to which the defendant is pieading guilty.

         The defendant understands that the Sentencing Guidelines are

         advisory and not binding on the Court. The defendant further

         agrees that any legal and factual issues relating to the

         application ofthe Sentencing Guidelines to the defendant,s

         conduct, including facts to support any specific offense

        characteristic or other enhancement or adjustment and the

         appropriate sentence within the statutory maximums provided

        for by law, will be determined by the Court after briefing, a pre-

        sentence hearing, or a sentencing hearing.

     12. Acceptance of Re sponsibiiit y-Three Le vels.   Ifthe defendant
        can adequately demonstrate recognition and affirmative

        acceptance of responsibility to the Government as required by
                                     o
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    the Sentencing Guidelines, the Government will recommend

    that the defendant receive a three-level reduction in the

    defendant's offense level for acceptance ofresponsibility. The

    third level, if applicable, shall   be   within the discretion of the
    Government under U.S.S.G. $ 9E1.1. The failure of the Court to

   find that the defendant is entitled to a reduction shall not be a

   basis to void this Agreement.

13. Specific Sentencins Guidelines Recommendations. With respect

   to the application of the Sentencing Guidelines to the

   defendant's conduct, the parties agree to recommend as follows:

   Under U.S.S.G. gZDf .f(cX8), the Base Offense Irevel is 24. Each

   party reserves the right to make whatever remaining

   arguments    it   deems appropriate with regard to application of

   the United States Sentencing Commission Guidelines to the

   defendant's conduct. The parties agree that a sentence within

   this range of the Sentencing Guidelines is a reasonable sentence

   under the facts and circumstances ofthis case. The defendant

   understands that any recommendations are not binding upon
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         either the Court or the United States probation Office, which

         may make different findings as to the application of the

         Sentencing Guidelines to the defendant,s conduct. The

         defendant further understands that the United States    will
         provide the Court and the United States probation Office all

         information in its possession that it deems relevant to the

         appiication of the Sentencing Guidelines to the defendant,s

         conduct.

D.   Sentencine Recommendatiou

     14. Aon    Ila te   tence Re commen dation .   At the time of
         sentencing, the United States may make a recommendation

        that it considers appropriate based upon the nature and

        circumstances ofthe case and the defendant,s participation in

        the offense, and specifically reserves the right to recommend a

        sentence up to and including the maximum sentence of

        imprisonment and fine allowable, together with the cost of

        prosecution.



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15. Sp       Conditi ons of Probation/Sur ervised R ease.   If
    probation or a term of supervised release is ordered, the United

    States may recommend that the Court impose one or more

    special conditions, inciuding but not limited to the following:

    a.   The defendant be prohibited from possessing a firearm or

         other dangerous weapon.

   b.    The defendant make restitution, if applicable, the payment

         ofwhich shall be in accordance with a schedule to be

         determined by the Court.

   c.    The defendant pay any fine imposed in accordance with a

         schedule to be determined by the Court.

   d.    The defendant be prohibited from incurring new credit

         charges or opening additional lines of credit without

         approval ofthe Probation Office unless the defendant is in

         complianee with the payment schedule.

   e.    The defendant be directed to provide the probation Offrce

         and the United States Attorney access to any requested

         financial information.
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   f.   The defendant be confined in a community treatment

        center, halfway house, or similar facility.

   g.   The defendant be placed under home confinement.

   h.   The defendant be ordered to perform community service.

   1    The defendant be restricted from working in certain types of

        occupations or with certain individuals if the Government

        deems such restrictions to be appropriate.

   j.   The defendant be directed to attend substance abuse

        counseling, which may include testing to determine whether

        the defendant is using drugs or alcohol.

   k.   The defendant be directed to attend psychiatric or

        psychological counseling and treatment in a program

        approved by the Probation Officer.

   l.   The defendant be denied certain federal benefits including

        contracts, grants, loans, fellowships, and licenses.

   m.   The defendant be directed to pay any state or federal taxes

        and file any and all state and federal tax returns as

        required by law.
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E.   Forfeiture ofAseets

     16. F    iture.   The present Information seeks forfeiture of the

         defendant's interests in certain assets. In the event the United

         States seeks to forfeit those assets through a civil proceeding,

         the defendant understands that dismissal of the criminal

         forfeiture allegation in no way limits the United States from

         proceeding civilly against any assets owned or held by the

         defendant or any other party. Defendant agaees to settie any

        civil and criminal forfeiture matters arising out of the offense of

        conviction and its relevant conduct. The defendant agrees that

        the defendant's property constitutes proceeds of, is derived from

        proceeds traceable to, or was used   in any manner or part to
        commit or facilitate the commission of the offense of conviction

        and its relevant conduct. Defendant further agrees to the

        following:

        a.   Forfeiture of all properties, real and personal listed in the

             Forfeiture Allegation of the Indictment/Informationi



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    b.   Immediate entry of the prelimiaary order of forfeiture or the

         filing of a civil complaint by the United States, pursuant to

         Title   18, United States Code, g 981i

    c.   Waiver of the right to personal service of all process and

         naming of James J. Scanlon, Esq., Ridley, Chuff,

         Kosierowski & Scanlon, P.C., 400 Broad Street, Milford, PA,

         18337, as agent for service   ofall processi
    d.   Waiver of the right to appear and contest any portion of the

         forfeiture proceedings, including but not limited to, any

         motion or proceeding for substitute assets;

    e.   The filing and entry ofa consent decree offorfeiturei

   f.    Disclosure, no later than upon signing this Agreement, of all

         persons and entities holding an equitable or legal interest in

         the property, real or personal, subject to forfeiture pursuant

         to this Agreementi

   g.    Concurrence in any motion necessary to be filed and signing

         any documents necessary to effectuate forfeiturei
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   h.   Payment of costs associated with the seizure, storage, and

        maintenance ofany asset being returned to the defendant

        as a result of this Agreementi

   1    In the event any assets are being returned to ihe defendant,

        such return does not amount to haviag "substantially

        prevailed" in the pursuit of any claim, and to make no claim

        against the United States or any ofits agencies or

        employees, including claims for attorney's fees and costs of

        Iitigationi

   j.   Waiver of any double jeopardy challenges the defendant

        may have to any administrative or civil forfeiture actions,

        pending or completed, arising out of the course of conduct

        forming the basis for the forfeituresi and

   k.   Waiver of all constitutional, legal, and equitable ciaims

        arising out of and defenses to the forfeiture of this property

        in any proceeding, including any claim of innocent

        ownership and any claim or defense under the Eig.hth

        Amendment, including any claim of excessive fine.
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17. Disclosure of Assets. This Agreement is entered by the United

    States on the basis of the express representation that the

    defendant is making full and complete disclosure of all assets

    over which the defendant exercises control. The defendant

    agrees to submit to a polygraph examination by an examiner

    selected by the Government to verify the defendaat's complete

    and candid compliance with this provision of the Agreement.

    The defendant also understands that a failure to make a full

    disclosure or lack of candor revealed by a polygraph

    examination would constitute a breach of this Agreement,

    subjecting the defendant to the sanctions set forth in this

   Agreement. Conditioned upon such full disclosure, the United

    States agrees not to seek the seizure/forfeiture ofany ofthe

   defendant's assets other than those set forth in this Agreement.

18. No Further Forfeiture. As the result of the forfeitures
                                                            set forth

   above, the United States agrees not to seek forfeiture of
                                                             any
   other asset known to the United States by defendant,s

   disclosure to belong to the defendant or the defendant,s
                                                            family.
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    This Agreement does not prevent the IRS from the collection of

    taxes or the seizure of assets to satisfy those taxes.

19. Forfeiture of I nt erests/Passaee ofC lear Title/D estructio n Order.

    By this Agreement, the defendant agrees to forfeit all interests

    in the assets set forth above and to take whatever steps are

    necessary to pass clear   title ofthose assets to the United States.

    These steps include but are not limited to surrender of    title;
    signing ofa consent decreei stipulating to facts regarding the

   transfer and basis for the forfeituresi and concurrence in any

    motion and signing any document necessary to effectuate such

   transfers.

20. D   tru     n Ord     alvers. The defendant further agrees,

   should the United States deem      it appropriate, to the destruction
   of the items seized during the course of the investigation.
                                                               The
   defendant agrees that the items may be destroyed by the

   investigative agency with or without a court order
                                                      authorizing
   the destruction of the items seized. If the United
                                                      States
   determines that a destruction order should
                                              be obtained. the
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          defendant and defendant's counsel hereby concur in a motion for

          such an order. The defendant further agrees to waive all

          interest in the assets in any administrative or judicial forfeiture

          proceeding, whether criminal or civil, state, or federal. The

          defendant consents and waives all rights to compliance by the

          United States with any applicable deadlines under 1g U.S.C.        $

          983(d. Any reJ.ated administrative ciaim filed by the defendant

          is hereby   withdrawn. The defendant agrees to consent to the

          entry oforders offorfeiture for such property and waives the

          requirements of Federal Rules of Criminal procedure 82.2 and

          43(d regarding notice ofthe forfeiture in the charging

          instrument, announcement of the forfeiture at sentencing, and

          incorporation of forfeiture in the judgment.

F             tion            to

    2t.   B ck       und Inform tion for    b   on       .   The defendant

          understands that the United States will provide to the United

          states Probation offlce arl information in its possession that
                                                                         the
          United States deems relevant regarding the defendant,s
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    background, character, eooperation, if any, and involvement in

    this or other offenses.

22. Obiec tions to Pre-Sentence eport . The defendant understands

    that pursuant to the United States District Court for the Middle

    District of Pennsylvania's "Policy for Guideline Sentencing,,,

   both the United States and defendant must communicate to the

   Probation Officer within 14 days after disclosure ofthe pre-

   sentence report any objections they mav have as to material

   information, sentencing classifications, applicabie Sentencing

   Guidelines ranges, and policy statements contained in or

   omitted from the report. The defendant agrees    bo   meet with the

   United States at least five days prior to sentencing in a good

   faith attempt to resolve any substantive differences. If any

   issues remain unresolved, they sha_ll be communicated to the

   Probation Officer for inclusion in an addendum to the pre-

   sentence   report. The defendant agrees that unresolved

   substantive objections will be decided by the Court after

   briefi.ng, a pre-sentence hearing, or at the sentencing hearing,

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    where the standard or proof will be a preponderance ofthe

    evidence, and the Federal Rules of Evidence, other than       with
    respect to privileges, shall not apply under Fed. R. Evid.

    1101(d)(3), and the Court may consider any reliable evidence,

   including hearsay. Objections by the defendant to the pre-

    sentence report or the Court's ruiings,   will not   be grounds for

   withdrawal of a plea of guilty.

23. Relevant Sentencins Information. At sentencing, the United

   States will be permitted to bring to the Court's attention, and

   the Court will be permitted to consider, all relevant information

   about the defendant's background, character and conduct,

   including the conduct that is the subject of the charges that the

   United States has agreed to dismiss, and the nature and extent

   of the defendant's cooperation,   if any. The United States will       be

   entitled to bring to the Court,s attention and the Court will be

   entitled to consider any failure by the defendant to fulfill any

   obligation under this Agreement.



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  24. Non-Limitation on Government's Response. Nothing in this

      Agreement shall restrict or limit the nature or content of the

      United States'motions or responses to any motions filed on

      behalf of the defendant. Nor does this Agreement in any way

      restrict the Government in responding to any request by the

      Court for briefing, argument or presentation of evidence

      regarding the application of Sentencing Guidelines to the

      defendant's conduct, including but not limited to, requests for

      information concerning possible sentencing departures.

G.C      Not       dbv                  t
  25. Court Not Bound by Terms. The defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

      Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of imprisonment for forty

      years, a fine of 95,000,000, a maximum term of supervised

      release of up to life, which shail be served at the concrusion
                                                                     of
      and in addition to any term of imprisonment, the costs
                                                             of
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         prosecution, denial of certain federal benefits, and assessments

         totaling $100.

     26. No Wit drawal of Plea Based on Se ntence or Re commendations.

         If the Court imposes a sentence with which the defendant is

         dissatisfred, the defendant will not be permitted to withdraw

         any guilty plea for that reason alone, nor will the defendant be

         permitted to withdraw any guilty plea should the Court decline

         to follow any recommendations by any of the parties to this

         Agreement.

H.   Breach of Plea Aeneement by Defendant

     27. Breach of Asreement. In the event the United States believes

        the defendant has failed to fulfill any obligation under this

        Agreement, then the United States shall, in its discretion, have

        the option ofpetitioning the Court to be relieved ofits

        obiigations under this Agreement. Whether the defend.ant has

        completely fulfilled all of the obligations under this Agreement

        shail be determined by the Court in an appropriate proceeding,

        during which any disclosures and documents provided
                                                            by the
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      defendant shall be admissible, and during which the United

      States shall be required to establish any breach by a

      preponderance of the evidence. In order to establish any breach

      by the defendant, the United States is entitled to rely on

      statements and evidence given by the defendant during the

      cooperation phase of this Agreement, if any.

28.         edies for    ach. The defendant and the United States

      agree that in the event the Court concludes that the defendant

      has breached the Agreement:

      a.   The defendant will not be permitted to withdraw any guilty

           plea tendered under this Agreement and agrees not to

           petition for withdrawal of any guilty plea;

      b.   The United States will be free to make any

           recommendations to the Court regarding sentencing in this

           case;

      C    Any evidence or statements made by the defendant during

           the cooperation phase of this Agreement, if any, wilt
                                                                 be
           admissible at any trials or sentencingsi
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    d.   The United States will be free to bring any other charges   it
         has against the defendant, including any charges originally

         brought agaiast the defendant or which may have been

         under investigation at the time ofthe plea. The defendant

         waives and hereby agrees not to raise any defense to the

         reinstatement of these charges based upon collateral

         estoppel, Double Jeopardy, statute of limitations, assertion

         ofSpeedy Trial rights, or other similar grounds.

29. Violatio n of Law Whi Ie Plea or Sen tence Pen       The

    defendant understands that it is a condition of this Agreement

    that the defendant refrain from any further violations of state,

    local, or federal law while awaiting plea and sentencing. The

    defendant acknowledges and agrees that     ifthe Government
   receives information that the defendant has committed new

   crimes while awaiting plea or sentencing in this case, the

   Government may petition the Court and, if the Court finds
                                                             by a
   preponderance ofthe evidence that the defendant
                                                   has
   committed any other criminaj offense while
                                              awaitiag plea or
                                25
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         sentencing, the Government shall be free at its sole election to

         either: (d withdraw from this Agreementi or    (b) make any

         sentencing recommendations to the Court that    it   deems

         appropriate. The defendant further understands and agrees

        that, if the Court finds that the defendant has committed any

        other offense while awaiting plea or sentencing, the defendant

        will not be permitted to withdraw any guilty pleas tendered
        pursuant to this Agreement, and the government will be

        permitted to bring any additional charges that it may have

        against the defendant.

I.   Appeal Waiver

     30. Conditional Appeal Waiver. The defendant is aware that Title

        28, United States Code, g 1291 affords a defendant the    right to
        appeal a judgment of conviction and sentencei and that Title 1g,

        United States Code, g BT 2(a) affords a defendant the right to

        appeal the sentence imposed. Acknowledging all of this, the

        defendant knowingly waives the right to appeal the conviction

        and sentence, on the express condition that the Court
                                                              impose a
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    sentence based upon the stipulated Sentencing Guidelines

    calculation. In the event the Court imposes a sentence greatet

    than the sentence resulting from the stipulated Sentencing

    Guidelines calculation, the defendant retains the right to appeal

    the conviction and sentence.

       This conditional waiver includes any and ali possible

    grounds for appeal, whether constitutional or non-

    constitutional, including, but not limited to, the manner in

   which that sentence was determined in light of United States      v.

   Booker, 543 U.S. ZZ0 (200il . The defendant further

   acknowledges that this conditional appeal waiver is binding

   only upon the defendant and that the United States retains its

   right to appeal in this case.

31. Appeal Waiver Breach. The defendant acknowledges that

   pursuing a direct appeal or any collateral attack waived in
                                                               the
   precediag paragraph(s) may constitute a breach ofthis

   Agreement. The Government agrees that the mere fiIing
                                                         of a
   notice of appeal is not a breach ofthe Agreement.
                                                     The
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         Government may decLare a breach only after the defendant or

         the defendant's counsel thereafter states, either orally or ia

         writing, a determination to proceed with an appeal or collateral

         attack raising an issue the Government deems barred by the

         waiver. The parties acknowledge that the pursuit of an appeal

         or any collateral attack constitutes a breach only if a court

         determines that the appeal or collateral attack does not present

         an issue that a judge may reasonably conclude is permitted by

         an exception to the waiver stated in the precediag paragraph(s)

         or constitutes a o'miscarriage of justice,, as that term is defined

         in applicable law.

J.   Other hovisiong

     32. AEreement Not Bindine on Other AEencies. Nothing in this

        Agreement shall bind any other United States Attorney,s Office,

        state prosecutor's office, or federal, state, or local law

        enforcement agency.

     33' No civil claims or suits. The defendant agrees not to pursue
                                                                      or
        initiate any civil claims or suits against the United States
                                                                     of
                                     28
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    America, its agencies or employees, whether or not presently

    known to the defendant, arising out ofthe investigation,

    prosecution or cooperation, if any, covered by this Agreement,

    including but not limited to any claims for attorney,s fees and

    other litigation expenses arising out ofthe investigation and

    prosecution of this matter. By the defendant's guilty plea in

    this matter the defendant further acknowledges that the

    Government's position in this litigation was taken in good faith,

    had a substantial basis in law and fact and was not vexatious.

34. Plea Asreem    t   Serves Ends   ofJ ustice . The United States is
    entering this Agreement with the defendant because this

    disposition of the matter fairly and adequately addresses the

   gravity ofthe offenses from which the charges are drawn, as

   well as the defendant's role in such offense(s), thereby serving

   the ends ofjustice.

35. Mereer of All Prior Neeotiations. This document
                                                    states the
   complete and only Agreement between the United
                                                  States
   Attorney for the Middle District of pennsylvania
                                                    and the
                               29
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    defendant in this case, and is binding only on the parties to this

    Agreement and supersedes all prior understandings or plea

    offers. This agreement cannot be modified other than in writing

    that is signed by all parties or on the record in court. No other

    promises or inducements have been or will be made to the

    defendant in connection with this case, nor have any predictions

    or threats been made in connection with this plea. pursuant to

    Rule 11 ofthe Federal Rules ofCriminal procedure, the

    defendant certifies that the defendant,s plea is knowing and

    voluntary and is not the result of force or threats or promises

    apart from those promises set forth in this Agreement.

36. Defendant is Sa tisfied with Assistanc eof Counsel. The

   Defendant agrees that the defendant has discussed this case

   and this Agreement in detail with the defendant,s attorney, who

   has advised the defendant ofthe defendant's constitutionar
                                                              and
   other trial and appellate rights, the nature ofthe charges,
                                                               the
   elements of the offenses the United States would
                                                    have to prove
   at trial, the evidence the United States would present
                                                          at such
                               30
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    trial, possible defenses, the advisory Sentencing Guidelines and

    other aspects of sentencing, potential losses of civil rights and

    privileges, and other potential consequences ofpleading guilty

   in this case. The defendant agrees that the defendant is

    satisfied with the legal services and advice provided to the

   defendant by the defendant's attorney.

37. Deadline for Accentance of Plea Ageement. The original of this

   Agreement must be signed by the defendant and defense

   counsel and received by the United States Attorney,s Office on

   or before 5:00 p.m.,   April 8, 2022, otherwise the offer may, in

   the sole discretion of the Government, be deemed withdrawn.

38. Requfued Sisnatures. None of the terms of this Agreement shall

   be binding on the Office of the United States Attorney for the

   Middle District of Pennsylvania until signed by the defendant

   and defense counsel and then signed by the United States

   Attorney or his designee.




                                 .1 I
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       I have read this agreement and carefully reviewed every part of it
 with tny attorney. I fully understand it and I                    t. 1

                                           ,i
                                                  :-2
    3! .rl
    a                                WAITER KE          TH PARFAITE
                                          Defendant

         I am the defendant's counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my clieni,s
decision to enter into this agreement is an informed and voruntarv one.

jL'L"
Date'                                             SJ. CANLON, ESQ.
                                          Counsel for Defendant


                                          JOHN C. GURGANUS
                                          United States Attorney


3        I    x                     By
D te                                                   BUCHANAN
                                                stant United States Attornev

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LERSION DATE: March 8. 202r
